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                                                    July 15, 2021

VIA CM-ECF

The Honorable Maryellen Noreika
U.S. District Court for the District of Delaware
844 N. King Street
Wilmington, DE 19801


                        Re:     CFPB v. NCMSLT et al., No. 17 Civ. 1323 (D. Del.)

Dear Judge Noreika:

       We write on behalf of Intervenor Ambac Assurance Corporation to respond briefly to the Notice
of Supplemental Authority filed yesterday by Plaintiff Consumer Financial Protection Bureau (“CFPB”)
regarding the recent rulings in CFPB v. Access Funding, LLC, et al., 16 Civ. 3759 (D. Md.), and CFPB v.
Navient Corp. et al., 21-8011 (3d Cir.). Neither ruling supports the CFPB’s positions in this case.

Access Funding

         Two weeks ago, the CFPB told this Court that the Supreme Court’s decision in Collins v. Yellen
meant that the CFPB should be deemed to have “satisfied the statute of limitations at the outset” of this
case in 2017, when the Bureau was unconstitutionally structured. D.I. 371 at 2. But the Access Funding
decision, which post-dates (and cites) Collins, reaffirms that actions initiated by the CFPB “at a time when
its structure violated the Constitution’s separation of powers” must either be timely ratified or dismissed.
See D.I. 373-1 (“Access Funding”) at 32; see id. at 35 (“[I]n the absence of an equitable remedy, the
Ratification was ineffective and the CFPB’s claims in this case would be barred by the statute of limita-
tions.”). Thus, the analysis in Access Funding refutes the CFPB’s contention here that Your Honor does
not need “to address ratification issues at all.” D.I. 368 at 7.

         Further, the Access Funding court relied extensively on FEC v. NRA Political Victory Fund, 513
U.S. 88 (1994), contrary to the CFPB’s insistence to Your Honor that NRA is “readily distinguishable”
from the Bureau’s present predicament. Compare D.I. 371 at 2, with Access Funding at 33–35. And while
the Access Funding court ultimately concluded on the facts before it that equitable tolling was appropriate,
the CFPB’s Notice elides that the court did so only after distinguishing Your Honor’s decision and
concluding that, “[u]nlike in Student Loan Trust, there are numerous facts [in Access Funding] that
reflect the Bureau’s diligent pursuit of its claims.” Access Funding at 38 (emphasis supplied). 1




1
  The CFPB also characterizes Access Funding as holding “that the defendants would not be prejudiced by the
Bureau’s continued pursuit of its claims.” D.I. 373 at 2. But it leaves out the crucial fact that the movants there
had failed to argue prejudice. See Access Funding at 40. Here, by contrast, Movants fully briefed why allowing
the CFPB to proceed on its time-barred complaint now would be enormously prejudicial. See D.I. 367 at 10–11.
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Navient

        The Navient ruling is not probative at all here—it is simply a one-sentence denial of Navient’s
petition for permission to lodge an interlocutory appeal of the district court’s equitable tolling ruling. See
D.I. 373-2. The Third Circuit’s determination not to hear an interlocutory appeal is not an adjudication
on the merits. In any event, the Navient district court decided to equitably toll the statute of limitations
based on fundamentally different facts that are not present here. See D.I. 336 at 2 (explaining the
differences); accord Navient, 21-8011 (3d Cir.), D.I. 8 at 8 (CFPB characterizing the Navient district
court’s “decision to toll the statute of limitations” as “fact-based and discretionary”); D.I. 10 at 2 (CFPB
arguing to the Third Circuit that “the difference between the decision in [Navient] and the decision in
Student Loan Trust concerns a matter of fact rather than an issue that merits interlocutory
review”). Particularly after having persuaded the Third Circuit that Navient is distinguishable on its facts
from this action, the CFPB should be held to that position here.



                                               Respectfully submitted,

                                               /s/ Melissa N. Donimirski

                                               Melissa N. Donimirski (#4701)

MND/ram
cc: All Counsel of Record (via CM-ECF)
